Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.251 Page 1 of 6
Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.252 Page 2 of 6
Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.253 Page 3 of 6
Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.254 Page 4 of 6
Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.255 Page 5 of 6
Case 2:08-cr-00001-WFN   ECF No. 97   filed 07/31/08   PageID.256 Page 6 of 6
